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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                   Case Number 18-20495
v.                                                          Honorable David M. Lawson

IBRAHEEM IZZY MUSAIBLI,

               Defendant.
                                             /

             ORDER GRANTING DEFENDANT’S UNOPPOSED REQUEST
              FOR NEW SCHEDULING ORDER AND EXCLUDING TIME

       On September 2, 2020, the Court held a status conference via videoconferencing with

counsel for the parties. During the conference, the defense asked the Court to consider significant

adjustments to the scheduling order, which were proposed in earlier correspondence with the

Court. The defendant’s attorneys stated that the adjustment is needed because newly appointed

counsel needs significant time to familiarize himself with the case, considering the vast amount of

discovery materials that have been produced, and the complexity of the legal issues that need to

be considered concerning, among other things, the admissibility and chain of custody for some of

the documents that the government has produced, which allegedly were seized from ISIS sources.

The defendant’s attorneys also represented that their attempts to arrange interviews with many

witnesses located abroad were delayed by difficulties communicating with the defendant during

the extended pendency of two competency evaluations, and that those efforts also recently have

been foreclosed by circumstances arising from the ongoing global pandemic. Counsel believe,

however, that they will be able to contact the witnesses concerned and arrange for interviews, some

of which may need to be conducted abroad, if they are allowed more time to continue their efforts.

The government did not oppose the defendant’s request for a scheduling adjustment.
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       The Court finds that the parties have shown good cause for the time enlargements and the

adjournment that they seek, and the defendant’s unopposed request therefore will be granted. The

Court further finds that failing to grant the requested schedule modification would deny counsel

for the defendant the reasonable time necessary for effective preparation for trial, 18 U.S.C. §

3161(h)(7)(A), (B)(iv), and the Court concludes that the interest of the defendant in having

adequate time to prepare for trial outweigh the interests of the government and the defendant in a

speedy trial, and that in the interests of justice the time between September 2, 2020 and the new

trial date of October 5, 2021, should be excluded from the 70-day calculation under the Speedy

Trial Act.

       Further, for all of the reasons stated in Eastern District of Michigan Administrative Order

20-AO-39 (July 1, 2020), the Court finds, and the parties agree, that “proceeding with a jury trial

at this time would be impossible, or would result in a miscarriage of justice,” and that “due to the

Court’s reduced ability to obtain an adequate spectrum of jurors and the effect of the

recommendations from . . . public health organizations on the availability of counsel and Court

staff to be present in the courtroom, the time period of the postponement [of the jury trial in this

matter which is required by the implementation of that] administrative order[] [should] be excluded

under the Speedy Trial Act, [because] the ends of justice served by ordering the postponement

outweigh the best interest of the public and [the] defendant’s right to a speedy trial, pursuant to 18

U.S.C. 3161(h)(7)(A).” Ibid.

       For all of the above stated reasons, the Court concludes that there is good cause for the

continued adjournment of the proceedings, and the Court will establish a new trial date and pretrial

benchmarks consistent with the parties’ scheduling proposal, and within a window that, based on




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the best information presently available, reasonably appears to be beyond the anticipated

subsidence of the present crisis.

       Accordingly, it is ORDERED that the defendant’s unopposed request to modify the

scheduling order is GRANTED.

       It is further ORDERED that the government must produce to the defense all remaining

discovery materials, with certain exceptions noted below, as soon as reasonably possible, but no

later than October 30, 2020.

       It is further ORDERED that if the defendant wants to file any pretrial motions, other than

motions challenging the admissibility or authentication of documents seized from ISIS sources,

then he must do so on or before December 31, 2020. Responses to any such motions must be

filed on or before January 29, 2021 and replies on or before February 19, 2021.

       It is further ORDERED that the government must produce to the defense all information

regarding the chain of custody and expert disclosures relating to the authentication of all

documents allegedly seized from ISIS sources on or before January 15, 2021. If the defendant

wants to file any motions challenging the admissibility of those documents or testimony by the

government’s proposed experts, then those motions must be filed on or before April 15, 2021.

Responses and replies to any such motions will be filed in due course according to the briefing

schedule specified by Local Rule 7.1(e).

       It is further ORDERED that the government must produce the disclosures for all other

experts required by Federal Rule of Criminal Procedure 16 and the facts or data upon which the

experts will rely, see Fed. R. Evid. 705, on or before April 15, 2021. If the defendant wants to

file any motions challenging the admissibility of testimony by those proposed expert witnesses on

any grounds, then he must do so on or before May 13, 2021. Responses and replies to any such




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motions will be filed in due course according to the briefing schedule specified by Local Rule

7.1(e).

          It is further ORDERED that all Jencks Act material which the government does not intend

to withhold until trial must be disclosed at least 30 days before trial, and the government’s

proposed witness and exhibit lists must furnished to counsel and the Court at least 21 days before

trial.

          It is further ORDERED that if the parties intend either jointly or separately to propose the

use of a jury questionnaire, then they shall submit a proposal to the Court on that topic by filing

an appropriate stipulation or motion on or before May 31, 2020.

          It is further ORDERED that the parties must appear for a final pretrial conference on

September 14, 2021 at 2:00 p.m.

          It is further ORDERED that the jury trial will begin on October 5, 2021 at 8:30 a.m.

          It is further ORDERED that the time between September 2, 2020 and the new trial date of

October 5, 2021 shall be EXCLUDED from the 70-day calculation under the Speedy Trial Act,

for all of the reasons stated above.

                                                               s/David M. Lawson
                                                               DAVID M. LAWSON
                                                               United States District Judge

Dated: September 2, 2020




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